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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL PUBLIC RADIO, INC., et al.,
                                Plaintiffs,         Civil Case No. 25-cv-1674

                 V.
                                                    DECLARATION OF
 DONALD J. TRUMP, et al.,                           TAMI GRAHAM
                                 Defendants.



                               DECLARATION OF TAMI GRAHAM

I, Tami Graham, M.A., hereby declare as follows:

        1.      I am over 18 years of age, am competent, and make this declarat�on based upon my

own personal knowledge. I make this declaration in support of Plaintiffs'. Motion for Summary

Judgment in the above-captioned case. If called to do so, I could and would competently testify

to these matters under oath.

        2.      I am the Executive Director of KUTE Inc., d/b/a: KSUT Public Radio (KSUT), a

position I have held since August 2015. In that role, I am responsible for the overall management

and operation of KSUT. Prior to ·becoming Executive Director of KSUT, among other things, I

was the station manager ofKDUR 91.9 FM, a.college and community radio station owned by Fort

Lewis College in Durango, Colorado, from 1990 to 1997.

   A.        KSUT and the Communities it Serves

        3.      Founded by the Southern Ute Indian Tribe in 1976, KSUT has been an independent,

non-profit corporation since 1986. Since 1998, KSUT has broadcast two complementary and

comprehensive programming services tailored for Tribal and non-Tribal listeners-Tribal Radio

and Four Comers Public Radio-from our studios in Ignacio, Colorado.


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       4.      KSUT serves 14 communities in the Four Corners, including Durango, Silverton,

Cortez, Mancos, and Pagosa Springs, Colorado; Aztec, Bloomfield and Farmington, New Mexico;

and four distinct Federally Recognized Tribes: the Southern Ute Indian Tribe, Ute Mountain Ute

Tribe, and portions of the Navajo Nation and JicarillaApache Nation.

       5.      KSUT has eleven full-time staff members, including me, and six part-time staff

members.

       6.      KSUT is governed by a nine-member board of directors that reflects the

communities our station serves. Pursuant to our by-laws, five of KSUT's nine board members

must be members of Federally Recognized Tribes; three of those must be members of the Southern

Ute Indian Tribe. 'All board members are selected by a vote of the board.

       7.      Our station is both a rural and minority-owned community licensee; being a

community licensee means that we are an independent, locally owned and operated broadcaster.

       8.      KSUT serves a large and diverse area of the country. We operate nine tower sites

and our signals cover, over the airwaves, approximately 27,000 square miles, giving us a potential

listening audience of approximately 250,000.

       9.      KSUT's broadcast coverage area is mostly rural. Large portions of that coverage

area, including those portions of the Ute Mountain Ute Tribe, Navajo Nation, and Jicarilla Apache

Nation that we serve, have very limited access to broadband service. Our service is particularly

critical for those communities, especially when it comes to access to emergency information.

       10.     For most of its broadcast coverage area, KSUT is the only public radio station

available. And KSUT is one ·of only a handful of sources of local and regional news and

information, including local newspapers, within that· coverage area. For some portions of our




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coverage area, we are the only source of such information. Without KSUT, most of our broadcast

coverage area would have no free source of reliable local and regional news and information.

         11.      We are proud of KSUT's history and mission. When it was founded, KSUT was

one of the first Tribal radio stations in the country. Our station was founded to serve Tribal

communities, and we continue to do so. For example, the KSUT Tribal Media Center and Rocky

Mountain PBS, together, produce Native Lens (www.nativelens.org), a training center, fellowship

program, community hub and video platform that celebrates Indigenous stories and media

production. Among other things, the project provides training and media fellowship opportunities

to support Indigenous storytellers and fihnmakers.

    B.         KSUT's Programming and its Relationship with NPR

         12.      KSUT broadcasts 24 hours a day, seven days a week, through its two

complementary and comprehensive programming services tailored for Tribal and non-Tribal

listeners-Tribal Radio and Four Comers Public Radio. Delivered by a network of more than a

dozen full-powered regional FM stations and lower-powered FM translators serving individual

communities, KSUT airs news, music, and other programming, including original programming

and national programming produced by National Public Radio (NPR), American Public Media

(APM), Public Radio International (PRX), and Native Voice 1 (NV-1 ).

         13.      KSUT has been an NPR Member station since 1984. We choose to include NPR

programming among the slate of programs we broadcast because it is affordable, of high quality,

and resonates with our listeners. As an independent public radio station, we exercise our editorial

judgment to choose what to put on air, and we choose to air NPR programming because of the

value it brings to our listeners and our station.




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        14.    When people move to the Four Comers region, they often tell us they are thrilled

(and sometimes surprised) to learn that we have an NPR Member station that serves our area-

and especially one that also serves as a great resource for music discovery and region-wide

information.

       15.     KSUT pays an individualized "core fee" to NPR that takes into account, among

other things, that we serve a rural audience. That "core fee" entitles us· to air certain NPR

programming, including NPR's flagship newsmagazines: Morning Edition, All Things Considered,

and Weekend Edition. In addition, KSUT pays programming fees to license additional NPR

programming, including Fresh Air, Here & Now, Jazz Night in America, and Wait Wait ... Don 1

Tell Me!. KSUT chooses which NPR programs to license and broadcast based on what we believe

best fits the needs and interests of the communities we serve.

       16.     In addition to the ability to broadcast NPR programming, as an NPR Member

station, KSUT also receive services from NPR, including, among other things, fundraising

materials and assets, representation in blanket music license negotiations, and data regarding

audience insights and analytics.

       17.     On weekdays, NPR programming accounts for seven hours of the content aired

daily on Four Comers Public Radio. On weekends, Four Comers Public Radio broadcasts three

to four hours of NPR programming. Tribal Radio offers 46 hours of original programming each

week, including news, public affairs programs, cultural information, Native American traditional

and contemporary music, special Tribal meetings, interviews with elected Tribal officials, and

Ignacio High School Sports, and simulcasts Four Comers Public Radio the remainder of the time.

Tribal Radio broadcasts NPR's newsmagazines Morning Edition and All Things Considered,

among other content simulcast on Four Comers Public Radio.


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         18.      The value to KSUT of being an NPR Member station is enormous. NPR is a brand

that our listeners know and trust to provide them with high quality, fact-based national and

international news. We regularly hear from our listeners about how much they appreciate being

able to listen to NPR news on KSUT while, for example, driving to and from work. Especially in

rural areas, NPR news is essential in helping listeners stay connected and informed.

         19.      NPR news is an important part of the suite of programming we provide to listeners

at KSUT, which also includes local and regional news coverage, discussed below, community

events and activities, and a diversity of music programming.

    C.         Local a�d Regional News Coverage on KSUT

         20.      In addition to providing our listeners with local news from the Four Comers region,

KSUT is also part of Rocky Mountain Community Radio, the Capitol News Alliance, and the

Mountain West News Bureau. Rocky Mountain Community Radio is a coalition of 21 stations,

mostly in Colorado, that share news content and editorial and reporting resources, including a full­

time climate reporter for the region. As a small public radio station with limited staff and resources,

these collaborations are critical to enabling KSUT to provide our listeners with free access to local

and regional news that is relevant and important to the communities we serve.

         21.     NPR's national reporting draws from the local and regional journalism of NPR

Member stations like KSUT and collaborations like Rocky Mountain Community Radio. This

relationship helps bring stories about our communities to a national audience.

   D.          Funding for KSUT

         22.     KSUT's projected operating revenue for Fiscal Year 2025 is approximately $1.67

million. The majority of our revenue comes from private support, with donations from our

listeners accounting for approximately 27 percent of our annual budget. Federal funding, in the


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form of Community Service Grants (CSGs) from the Corporation for Public Broadcasting (the

Corporation or CPB), is approximately 20 percent of our annual budget. In 2025, KSUT received

$333,000 in grant funds from the Corporation.

        23.    The Corporation provides two types of CSGs-unrestricted and restricted-to local

public radio stations like KSUT.

       24.     Unrestricted CSG funds can be used for a variety of purposes, including

programming, production, educational outreach activities, broadcasting, management, and day-to-

day operations.

       25.     Restricted CSG funds must be used to acquire or produce programming to be

distributed nationally; such programming must also be designed to serve the needs of a national

audience. Each year, KSUT uses restricted CSG funds it receives from the. Corporation to help

pay the station's "core fee" and programming fees to NPR.

       26.     CSG funds are particularly vital for rural and minority-owned community licensees,

and those that serve Tribal communities. As High Country News recently reported 1 based on data

it obtained from CPB, 79 radio stations in the United States relied on funding from the Corporation

for 30 percent or more of their funding in Fiscal Year 2023; more than half of those stations (42)

are located in the West and, of those Western stations, 40 are rural and 20 are also Tribal stations.

My experience at KSUT is consistent with High Country News , reporting: federal funding is

critical to stations like ours that serve rural and Tribal audiences in the West.




1 Annie Rosenthal and Chad Bradley, "What defunding public media would mean for the West,"

High Country News (June 6, 2025), available at https://www.hcn.org/articles/what-defunding-
public-media-would-mean-for-the-west/.
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    E.         Impact of Executive Order 14290

         27.      Executive Order 14290, "Ending Taxpayer Subsidization of Biased Media" (the

Order), iminediately and irreparably harms KSUT in multiple ways. First, the Order creates

immediate chilling effects with respect to our editorial decision-making. It sends a clear message

that the government officially disapproves of NPR' s programming and that it will take steps to

retaliate not only against NPR, but against Member stations like us that choose to associate with

NPR and to air NPR' s content. While KSUT does not wish to disassociate itself from NPR, the

threat of further retaliation from the government has, for example, caused us to seek legal advice

and to question whether we· should continue to air NPR programming. With this Order targeting

NPR, it feels like there is a target on the back of Member stations like KSUT.

         28.      Second, if KSUT was no longer able to use CSG funds it receives from the

Corporation to help pay the station's "core fee" and programming fees to NPR, KSUT may not be

able to continue to acquire and air NPR programming.

         29.      In Fiscal Year 2025, KSUT received $80,678 in restricted CSG funds to be spent

on national programming. We have a tight budget and rely on these restricted funds to cover most

of the national programming we air. Currently, most of those funds are spent on NPR programming;

we have budgeted to spend only approximately $29,000, total, on non-NPR nationally distributed

radio programming this year. If we cannot use restricted CSG funds for NPR membership and

program.ming fees, we will have far less money for NPR programming and would need to

substitute other national programing that we would have otherwise not chosen to air.

         30.      If KSUT could not continue to be an NPR Member station, we would suffer

additional consequences. KSUT airs a significant number of hours of NPR programming during

the week. As a small public radio station, we lack the resources to produce content that would fill


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that airtime on our own. Even if we could still afford to continue to be an NPR Member station,

we would very likely need to reduce the amount of NPR programming we air.

        31.   While we would attempt to fundraise in order to remain an NPR Member station

and to acquire NPR programming, it would be challenging to raise those funds.

        32.   Third, even if KSUT was able to raise enough non-federal funds to continue to

acquire and air NPR programming, there would be administrative burdens and costs associated

with segregating those funds from the CSG funds we receive from the Corporation.

        33.   Fourth, if restricted CSG funds could only be used to acquire non-NPR national

programming, our station would suffer. There is no equivalent to NPR programming on a national

scale. APM, for example, does not produce a national news program. Moreover, if KSUT was

forced to obtain national programming from other sources, it would cost the station considerably

more.

        34.   We currently have a strong listener base across the region we serve. For 11 years

in a row, KSUT has been voted best radio station (commercial or noncommercial) by Durango

Herald readers. NPR's news programming is a key reason why people listen to KSUT, including

in the rural areas we serve. People tune in for national news from NPR during drive time. If KSUT

was no longer able to air NPR programming, we would lose listeners and it would have a

significant, negative impact on our ability to fundraise. That, in turn, would leave us with even

fewer resources to dedicate to local news and community information.

        35.   If KSUT was no longer able to be an NPR Member station, we would also lose

other benefits we depend on, including, for example, NPR's representation of Member stations in

blanket music license negotiations. That would be a huge blow to KSUT because we are known

as a source for diverse music programming in the Four Comers. There is little possibility that


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KSUT, on its own, could afford the music licensing fees required for its current music

programming. The loss of our music programming combined with the loss of NPR news

programming would be monumental for our station to overcome.

    F.         The Public Radio Satellite System (PRSS) and Emergency Alerts

         36.      NPR manages and operates the Public Radio Satellite System (PRSS) on behalf of

the entire public radio system. As an Interconnected station-i. e., a station that uses the PRSS-

KSUT receives funds from the Corporation specifically for Interconnection purposes, and KSUT

pays an Interconnected fee to NPR for its management and operation of the PRSS. KSUT, like all

public radio stations, is reliant on the PRSS.

         37.      In times of emergency, the PRSS receives Presidential alerts from the Federal

Emergency Management Agency (FEMA), which it then provides to radio stations all over the

country in the event of a nationwide crisis. In addition, KSUT transmits alerts concerning local

and regional emergencies using technology supported by the PRSS. Like other public radio

stations around the country, KSUT is a lifeline for the communities it serves. Because radio is not

dependent upon electricity, it is an essential, reliable source of information in the event of a natural

disaster, severe weather incident, or other emergency.         KSUT distributes approximately 75

emergency signals each year.

         38.      Because KSUT serves such a vast, and mostly rural, area of the country, our

broadcasting of emergency alerts and information is particularly critical. If, for example, there is

d~gerous flash flooding in a remote portion of the Navajo Nation, KSUT is likely the only place

to learn about it in a timely fashion.

         39.      Wildfires are a common emergency we face in the Four Corners. We work closely

with regional emergency services to ensure we are providing our listeners with timely, accurate


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infmmation in the event of a wildfire or other emergency. For example, during the devastating

Missionary Ridge Fire in 2002, which burned for more than a month, KSUT was a key source for

road closures and evacuation information. With our broad coverage area and because we serve

remote, rural areas, it is absolutely essential that our listeners know they can count on us to provide

timely, potentially life-saving information they need.

       40.     If the distribution of content and emergency information via the PRSS and PRSS-

supported infrastructure was disrupted, it would have a devastating effect on KSUT, the entire

public radio system, and all the communities we serve.




I declare under the penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


       Dated: Ignacio, Colorado
       June, I ~ 12025         /
       c-;;~                 , fL
       Tami Graham
